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                                                                  Exhibit 6
                                        P. Mot. for Summ. J./D. Resp. to RFP Set 2

                                          Court: S.D. Ill. Case No. 3:21cv540-NJR
                                                                 Pacific Legal Foundation
                                                             555 Capitol Mall, Suite 1290
                                                     Sacramento CA 95814 – 916.419.7111
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


 SCOTT WYNN, an individual,

              Plaintiff,

 v.                                            No. 3:21–cv–00514–MMH–JRK

 THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture,
 et al.,

              Defendants.


       DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S
      SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendants Thomas J.

Vilsack, et al., by and through their undersigned counsel, hereby respond to Plaintiff’s

Second Set of Requests for Production of Documents:

       Defendants’ objections and responses are based on information known to

Defendants at this time and are made without prejudice to additional objections should

Defendants subsequently identify additional grounds for objection. The information

submitted herewith is being provided in accordance with the Federal Rules of Civil

Procedure, which generally permit the discovery of information not privileged that is

relevant to the claims or defenses in this civil action and that is proportional to the

reasonable needs of the case.     Fed. R. Civ. P. 26(b)(1).    Defendants do not, by

providing such information, waive any objection to its admissibility on the grounds of


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relevance, proportionality, accessibility, materiality, or any other appropriate ground.

Defendants reserve the right to amend these responses until the close of discovery in

this case.

                     DEFENDANTS’ OBJECTIONS TO
              PLAINTIFF’S INSTRUCTIONS AND DEFINITIONS

       1.    Defendants object to Instruction 2 to the extent it purports to impose

obligations in excess of those created by Federal Rule of Civil Procedure 34.

Defendants will comply with that Rule.

       2.    Defendants object to Instruction 3 as imposing obligations in excess of

those created by Federal Rule of Civil Procedure 26(b)(5). Defendants will comply

with that Rule.

       3.    Defendants object to Instruction 4 to the extent it would require them to

produce documents not fairly described by the requests below.

       4.    Defendants object to Instructions 5 and 6 to the extent they impose,

individually or collectively, obligations in excess of those created by Federal Rule of

Civil Procedure 26(e). Defendants will comply with that Rule.

       5. Defendants object to Plaintiff’s Definition No. 2 to the extent that it defines

“document” to include “draft[s],” as such a definition is inherently overbroad and

unduly burdensome.       To the extent Plaintiff seeks either drafts or information

contained within drafts, that information is highly likely to be subject to withholding

as protected by one or more governmental privileges, including the deliberative process

privilege. Searching for, reviewing, redacting and/or producing a privilege log for all



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such records would be unduly burdensome and disproportionate to the needs of the

case. Moreover, to the extent Plaintiff seeks all “nonidentical cop[ies]” of a document

or electronically stored information without limitation, the definition is unduly

burdensome in that it would require Defendants to search for redundant documents

without regard to whether those documents contain any meaningfully distinct

information. Accordingly, unless otherwise noted, Defendants will not search for or

produce draft documents or all “nonidentical cop[ies].”

                                    RESPONSES

Request for Production No. 12: Documents sufficient to identify all USDA or FSA
programs that have based eligibility on the size, cost, or value of a farmer’s loan.

Response:    Defendants object that RFP No. 12 requests information irrelevant to the

claims or defenses in this case and is thus beyond the scope of the Federal Rules. See

Fed. R. Civ. P. 26(b).     RFP No. 12 is also overbroad and disproportionately

burdensome to the extent is seeks documents sufficient to identify “all USDA or FSA

programs.” Plaintiff challenges only USDA’s implementation of Section 1005 of

ARPA, and Defendants rely principally on discrimination within USDA’s lending

programs.     Without waiving those objections, Defendants refer Plaintiff to

Defendants’ response to Interrogatory No. 19.

Request for Production No. 13: Documents supporting the calculation of the number
and dollar amount identified in response to Interrogatory No. 13.

Response:    Defendants will produce any responsive, non-privileged material in

response to this request pursuant to their ongoing document review and production.




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Request for Production No. 14: Documents supporting the calculation of the number
and dollar amount identified in response to Interrogatory No. 17.

Response:   Defendants will produce any responsive, non-privileged material in

response to this request pursuant to their ongoing document review and production.




Dated: December 3, 2021         Respectfully submitted,

                                BRIAN M. BOYNTON
                                Acting Assistant Attorney General

                                LESLEY FARBY
                                Assistant Branch Director
                                Civil Division, Federal Programs Branch

                                /s/ Emily Newton
                                EMILY SUE NEWTON (VA Bar No. 80745)
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                                Counsel for Defendants




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                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Defendants’ Objections and Responses to

Plaintiff’s Second Set of Interrogatories was served on counsel for Plaintiff via email

on December 3, 2021.

                                                    /s/ Emily Newton
                                              EMILY SUE NEWTON
                                              U.S. Department of Justice
